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Fill in this information to identify your case:

United States Bankruptcy Court for the:

EASTERN DISTRICT OF TEXAS

Case number (if known)                                                     Chapter      11
                                                                                                                         Check if this an
                                                                                                                            amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Remarkable Healthcare of Carrollton, LP

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                   Mailing address, if different from principal place of
                                                                                                business

                                  4501 Plano Parkway
                                  Carrollton, TX 75010
                                  Number, Street, City, State & ZIP Code                        P.O. Box, Number, Street, City, State & ZIP Code

                                  Denton                                                        Location of principal assets, if different from principal
                                  County                                                        place of business

                                                                                                Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.remarkablehealthcare.net


6.   Type of debtor                Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




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Debtor    Remarkable Healthcare of Carrollton, LP                                                   Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                        Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                        Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                        Railroad (as defined in 11 U.S.C. § 101(44))
                                        Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                        Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                        Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                        None of the above

                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                6231

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                        Chapter 7
                                        Chapter 9
                                        Chapter 11. Check all that apply:
                                                             Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                             The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                             A plan is being filed with this petition.
                                                             Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12


9.   Were prior bankruptcy
     cases filed by or against
                                        No.
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                               When                                 Case number
                                                 District                               When                                 Case number


10. Are any bankruptcy cases
    pending or being filed by a
                                        No
    business partner or an              Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor                                                                  Relationship
                                                 District                               When                             Case number, if known




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Debtor   Remarkable Healthcare of Carrollton, LP                                                 Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                       preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                 No
    real property or personal    Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                   Why does the property need immediate attention? (Check all that apply.)
                                            It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                             What is the hazard?
                                            It needs to be physically secured or protected from the weather.
                                            It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                             livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                            Other
                                           Where is the property?
                                                                            Number, Street, City, State & ZIP Code
                                           Is the property insured?
                                            No
                                            Yes. Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .       Check one:
    available funds
                                         Funds will be available for distribution to unsecured creditors.
                                         After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of          1-49                                           1,000-5,000                               25,001-50,000
    creditors                    50-99                                          5001-10,000                               50,001-100,000
                                 100-199                                        10,001-25,000                             More than100,000
                                 200-999

15. Estimated Assets             $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities        $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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                 REMARKABLE HEALTHCARE OF CARROLLTON, LP

                         CONSENT OF THE GENERAL PARTNER

       The undersigned general partner, constituting the sole general partner (the “General
Partner”) of Remarkable Healthcare of Carrollton, LP (the “Company”), a limited partnership
organized under the Texas Business Organizations Code, does by this writing consent to take the
following actions and adopt the foregoing resolutions, to wit:

       WHEREAS, the Company is experiencing severe financial and liquidity issues; and

       WHEREAS, on February 9, 2018, the General Partner resolved that the Company was
authorized to seek Chapter 11 bankruptcy protection under Title 11 of the United States Code
and to engage Curtis | Castillo PC (the “Firm”) to provide legal services to the Company in
connection with a Chapter 11 bankruptcy case and related matters; and

        WHEREAS, the General Partner, and the Company, acknowledge that the
commencement of a bankruptcy case shall provide certain relief to the Company but the
bankruptcy filing in and of itself shall not absolve the Company of (i) its duties under corporate-
governance partnership documents, or (ii) the obligations of the Company to continue to adhere
to all applicable laws, rules, ordinances, and regulations (collectively, “Applicable Law”) that
would apply outside of bankruptcy and that are not stayed by bankruptcy; and

       WHEREAS the Company, and the General Partner, recognize, among all of the rights
and duties of a Chapter 11 debtor-in-possession, the need to take all steps within the power of the
Company to (i) remain administratively solvent during the prosecution of a Chapter 11
bankruptcy proceeding and (ii) maintain the ability to pay in a timely manner all fees and
expenses incurred by the Company following the commencement of a Chapter 11 proceeding,
including but not limited to the quarterly fees due to the United States Trustee and all fees and
expenses incurred by the Firm (collectively, the “Bankruptcy Administrative Duties”);

        AND THEREFORE, BE IT RESOLVED that the General Partner authorizes and
directs the Company to take any and all actions necessary and appropriate under the United
States Bankruptcy Code, and/or other Applicable Law to fulfill the duties of the Company as a
debtor in possession in a Chapter 11 bankruptcy proceeding, including, but not limited to the
Bankruptcy Administrative Duties, and to acquire all necessary funds and preserve and utilize
the value of all estate assets to the extent possible to discharge all such duties; and

        BE IT FURTHER RESOLVED that the General Partner of the Partnership is
authorized to execute, for and on behalf of the Partnership, any and all documents, instruments,
and consents and to take any and all further actions that are necessary, desirable, or appropriate
to effectuate the purpose of the foregoing resolution; and

        IN WITNESS WHEREOF, the undersigned, being the sole General Partner of the
Company, has approved and adopted the foregoing resolution, and has hereunto set its hands
effective as of February 9, 2018.



CONSENT OF THE GENERAL PARTNER                                                              PAGE 1
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General Partner:

LBJM, LLC

By: _______________________
Printed Name: Laurie Beth McPike
Title: President/CEO




 CONSENT OF THE GENERAL PARTNER                                                PAGE 2
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 Fill in this information to identify the case:
 Debtor name Remarkable Healthcare of Carrollton, LP
 United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS                                                                                Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Acadian Ambulance                                                                      Disputed                                                                          $19,261.16
 P.O. BOX 92970
 Lafayette, LA 70509
 Allegiance                                                                                                                                                               $70,534.38
 Ambulance
 P.O. BOX 4320
 Houston, TX 77210
 American Express                                                                                                                                                         $25,692.73
 P.O. Box 36001
 Fort Lauderdale, FL
 33336-0001
 Complete Supply,                                                                                                                                                           $7,817.57
 Inc.
 1624 W Crosby St
 #144
 Carrollton, TX 75006
 Diagnostic                                                                                                                                                                 $6,137.84
 Laboratories &
 Radiology
 2820 N Ontario
 Street
 Burbank, CA 91504
 Dr. Vaqar Dar                                                                                                                                                            $11,000.00
 5625 Champions Dr.
 Plano, TX 75093
 Elliot Greenleaf P.C.                                                                                                                                                    $10,626.66
 925 Harvest Drive
 Suite 300
 PO Box 3010
 Blue Bell, PA 19422
 Green Mountain                                                                                                                                                             $7,608.86
 Energy
 P.O. Box 121233
 Dallas, TX 75312
 Infinity Mechanical                                                                                                                                                        $5,442.07
 Services LLC
 4806 Winterview Dr.
 Mansfield, TX 76063

Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    Remarkable Healthcare of Carrollton, LP                                                            Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 IPFS Corporation                                                                                                                                                           $8,751.65
 P.O. Box 730223
 Dallas, TX 75373
 Lawn Pros, LLC                                                                         Disputed                                                                            $8,405.65
 P.O. Box 1213
 Colleyville, TX 76034
 Medline Industries,                                                                                                                                                      $30,802.68
 Inc.
 P.O. Box 121080
 Dallas, TX 75312
 Mustang NH, LLC                                                Back rent under                                                                                         $544,807.93
 610 Towson Avenue                                              lease agreement
 PO Box 2207
 Fort Smith, AR
 72902
 North American                                                                                                                                                             $5,249.52
 Administrators
 1826 Elm Hill Pike
 Nashville, TN 37210
 Omnicare Pharmacy                                                                      Contingent                                                                      $119,604.78
 of Texas 1, LP                                                                         Unliquidated
 900 Omnicare                                                                           Disputed
 Center
 201 East Fourth
 Street
 Cincinnati, OH
 45202
 PharmScript LLC                                                                                                                                                          $45,969.58
 150 Pierce St
 Somerset, NJ 08873
 PointClick Care                                                                                                                                                          $10,168.62
 Technologies INC
 P.O. BOX 674802
 Detroit, MI 48267
 Quatro Tax LLC                                                                                                                                                           $31,138.22
 5608 Malvey Avenue
 Suite 110
 Fort Worth, TX
 76107
 RXPerts                                                                                Disputed                                                                          $52,240.91
 Pharmacy-Texas
 LLC
 P.O. Box 1359
 Morton Grove, IL
 60053
 U.S. Food Service,                                                                                                                                                       $21,427.19
 Inc.
 P.O. Box 843202
 Dallas, TX 75284




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Fill in this information to identify the case:

 Debtor name         Remarkable Healthcare of Carrollton, LP

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF TEXAS

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                    amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                         12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                 Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                 Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                 Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                 Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                 Schedule H: Codebtors (Official Form 206H)
                 Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                 Amended Schedule
                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                 Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on            2.12.18                               X
                                                                         Signature of individual signing on behalf of debtor

                                                                         Laurie Beth McPike
                                                                         Printed name

                                                                         President of LBJM, LLC, its General Partner
                                                                         Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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Revised 12/1/2009                                                                                                         LBR Appendix 1007-b-6
                                                               United States Bankruptcy Court
                                                                      Eastern District of Texas
 In re      Remarkable Healthcare of Carrollton, LP                                                       Case No.
                                                                                  Debtor(s)               Chapter        11




                                                      VERIFICATION OF CREDITOR MATRIX



                         I, the President of LBJM, LLC, its General Partner of the partnership named as the debtor in this

                         case, hereby verify that the attached list of creditors is true and correct to the best of my

                         knowledge.




 Date:          2.12.18
                                                                       Laurie Beth McPike/President of LBJM, LLC, its General Partner
                                                                       Signer/Title




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                      Acadian Ambulance
                      P.O. BOX 92970
                      Lafayette, LA 70509

                      Allegiance Ambulance
                      P.O. BOX 4320
                      Houston, TX 77210

                      American Express
                      P.O. Box 36001
                      Fort Lauderdale, FL 33336-0001

                      Baylor Medical Center of Carrollton
                      PO Box 844309
                      Dallas, TX 75284

                      Blackall Mechanical Inc.
                      3724 Arapaho Rd
                      Addison, TX 75001

                      Care Flight
                      3110 S Great SOuth West Parkway
                      Grand Prairie, TX 75052

                      Charlotte Bennett
                      4230 Fairway Dr
                      #11201
                      Carrollton, TX 75010

                      City of Carrollton
                      1945 E Jackson Road
                      Carrollton, TX 75006

                      Complete Supply, Inc.
                      1624 W Crosby St #144
                      Carrollton, TX 75006

                      Dallas Medical Center
                      PO Box 678621
                      Dallas, TX 75267

                      Dallas Tap Dazzlers
                      756 Marlee Circle
                      Coppell, TX 75019

                      Deane Peters
                      816 E. Windsor Dr.
                      Denton, TX 76209

                      Diagnostic Laboratories & Radiology
                      2820 N Ontario Street
                      Burbank, CA 91504
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                  Dr. Vaqar Dar
                  5625 Champions Dr.
                  Plano, TX 75093

                  Elliot Greenleaf P.C.
                  925 Harvest Drive
                  Suite 300
                  PO Box 3010
                  Blue Bell, PA 19422

                  Green Mountain Energy
                  P.O. Box 121233
                  Dallas, TX 75312

                  Hill-Rom Company Inc
                  PO Box 643592
                  Pittsburgh, PA 15264

                  Infinity Mechanical Services LLC
                  4806 Winterview Dr.
                  Mansfield, TX 76063

                  IPFS Corporation
                  P.O. Box 730223
                  Dallas, TX 75373

                  Jeanette Stewart
                  4501 Plano Parkway
                  Carrollton, TX 75010

                  Lawn Pros, LLC
                  P.O. Box 1213
                  Colleyville, TX 76034

                  Manage Meds, LLC
                  PO Box 377
                  Mason, OH 45040

                  Medline Industries, Inc.
                  P.O. Box 121080
                  Dallas, TX 75312

                  Minnie Piolet
                  530 Rockingham Dr
                  Richardson, TX 75080

                  MobilexUSA
                  P.O. Box 17462
                  Baltimore, MD 21297

                  Mustang NH, LLC
                  610 Towson Avenue
                  PO Box 2207
                  Fort Smith, AR 72902
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                  North American Administrators
                  1826 Elm Hill Pike
                  Nashville, TN 37210

                  Omnicare Pharmacy of Texas 1, LP
                  900 Omnicare Center
                  201 East Fourth Street
                  Cincinnati, OH 45202

                  Ortho Texas Physicians & Surgeons
                  4780 N Josey Lane
                  Carrollton, TX 75010

                  Paul G Anderson
                  P.O. Box 2793
                  Wylie, TX 75098

                  Performance Health
                  28100 Torch Pkwy
                  Warrenville, IL 60555

                  PharmScript LLC
                  150 Pierce St
                  Somerset, NJ 08873

                  Pitts Birdsong Fennell & Assc.
                  12770 Coit Road
                  Suite 120
                  Dallas, TX 75251

                  PointClick Care Technologies INC
                  P.O. BOX 674802
                  Detroit, MI 48267

                  Quatro Tax LLC
                  5608 Malvey Avenue
                  Suite 110
                  Fort Worth, TX 76107

                  Ray Sasser
                  440 Independance Pkwy
                  #2425
                  Plano, TX 75075

                  RecoverCare LLC
                  1920 Stanley Gault PKWY
                  Ste 100
                  Louisville, KY 40228

                  Remarkable Petty Cash - Jon McPike
                  4501 Plano Parkway
                  Carrollton, TX 75010
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                  RXPerts Pharmacy-Texas LLC
                  P.O. Box 1359
                  Morton Grove, IL 60053

                  S&S Worldwide, Inc.
                  PO Box 210
                  Hartford, CT 06141

                  Texas Winds Musical Outreach Inc
                  PO Box 797811
                  Dallas, TX 75379

                  U.S. Food Service, Inc.
                  P.O. Box 843202
                  Dallas, TX 75284
